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                         UN ITED STATES DISTRICT CO U RT FO R TH E
                              SOU TH ERN D ISTRICT OF FLORID A

                           C ase N um ber:11-20279-CR -M A RT IN EZ

  UN ITED STA TES OF AM ERICA ,

         Plaintiff,
  VS.

  JULIJA VINOGM DOVA,

         Defendant.
                                            /

        O R DER A DO PTIN G M A G ISTR A TE'S R EPO R T AN D R EC O M M END A TION

        THISCAUSE cam ebeforetheCourtupontheReportandRecomm endationissuedbyunited

 StatesM agistrateJudgePeterR.Palerm o,on February 7,2012.TheReportandRecom mendations

 recomm endsto thisCourt,thatcounselScottW .Sakin,Esquirebepaid$36,539.25asfairand final

 com pensation forhis work in thiscase. Accordingly,the Courthasconsidered the Reportand

 Recommendations,andthepertinentpartsoftherecord,counsel'sresponsestatinghedoesnotobject
 to theM agistrateJudge'sReportand Recomm endations.Based on thereasonsstatedin theReport

 oftheM agistrateJudge,andupon independentreview ofthefileand being otherwisefullyadvised

 in the prem ises,itis

        ORDERED AND ADJUDGED thatUnited States M agistrate Judge PeterR.Palermo's

 Reportand Recomm endation ishereby ADOPTED and AFFIRM ED.

        DONE AND ORDERED in ChambersatM ' 'Florida,this J
                                                        .
                                                        $ dayofFebruary,2012.

                                                 JO S   .M A RTW EZ
                                                 UN       STATES DlS RICT JU D GE

 Copies provided to:
 M agistrateJudgePeterR.Palerm o
 ScottW .Sakin,Esq
 Lucy Lara,CJA A dm inistrator
